           Case 2:19-cr-00289-JAD-NJK Document 53 Filed 07/29/20 Page 1 of 3




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 4                              UNITED STATES DISTRICT COURT
 5                                        DISTRICT OF NEVADA
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 7   UNITED STATES OF AMERICA,                             Case No.: 2:19-cr-00289-JAD-NJK
 8                           Plaintiff,                        Order Granting Stipulation
 9   v.                                                              (Docket No. 52)
10   NICHOLAS EDDARDS,
11                          Defendant.
12         Pending before the Court is the parties’ stipulation to continue the evidentiary hearing on
13 Defendant’s motion to suppress evidence, currently set for August 3, 2020. Docket No. 52. For
14 good cause shown, the Court GRANTS the parties’ stipulation.
15         The Court CONTINUES the evidentiary hearing on Defendant’s motion to suppress
16 evidence, Docket No. 39, to September 11, 2020, at 1:30 p.m., in courtroom 3C.
17         IT IS ORDERED that all counsel shall be personally present in the courtroom.
18         IT IS FURTHER ORDERED that, no later than August 17, 2020, defense counsel shall
19 file notice on the record as to whether Defendant waives his right to personal appearance and
20 consents to appear via video link.
21         IT IS FURTHER ORDERED that, as the Court is closely following and reinforcing the
22 guidelines from the CDC and other relevant health authorities and is taking precautionary measures
23 to limit the potential spread of the COVID-19 virus, the following will be enforced:
24             •   All visitors to the courthouse will be required to maintain a social distance of at
25                 least six feet and either wash their hands or use hand sanitizer before entering the
26                 courtroom.
27             •   Inside the courtroom, chairs, tables, and microphones that have been utilized will
28                 be cleaned after each hearing. Counsel and other attendees are encouraged to bring

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             Case 2:19-cr-00289-JAD-NJK Document 53 Filed 07/29/20 Page 2 of 3




 1                  disinfectant wipes to clean the surface areas utilized to their own comfort level as
 2                  well.
 3              •   Hearing attendees are required to wear face masks in all public areas. See Amended
 4                  Temporary General Order 2020-08. In addition, they are encouraged to bring and
 5                  wear personal protective equipment including gloves or other protective coverings.
 6              •   Documents that will be referenced or utilized during a hearing must be emailed to
 7                  the Courtroom Deputy and any other necessary recipient (e.g., opposing counsel,
 8                  defendant) at least 24 hours before the hearing.
 9              •   Any necessary signed documents must be filed at least one day before the scheduled
10                  hearing as required by General Order 2020-05.
11              •   If you do not feel well, contact the Courtroom Deputy immediately to reschedule
12                  this hearing or make arrangements to attend it remotely. DO NOT COME TO THE
13                  COURTHOUSE IF YOU ARE EXPERIENCING FLU-LIKE SYMPTOMS such
14                  as a cough, fever, or shortness of breath, or if you have been in contact with anyone
15                  who has been recently diagnosed with a COVID-19 infection. Refer to Temporary
16                  General Orders 2020-02 and 2020-04 for additional courthouse-access policies and
17                  procedures.
18           IT IS FURTHER ORDERED that members of the public may access and listen to the
19 hearing by calling 877-402-9757 and entering access code 6791056, no later than five minutes
20 before the scheduled hearing start time. All members of the public must have their own phones
21 on mute throughout the hearing and are not allowed to speak or disrupt the hearing.
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           Case 2:19-cr-00289-JAD-NJK Document 53 Filed 07/29/20 Page 3 of 3




 1         Anyone granted remote access to a proceeding is reminded of the general prohibition
 2 against photographing, recording, and rebroadcasting of court proceedings. Violation of these
 3 prohibitions may result in sanctions, including removal of court-issued media credentials,
 4 restricted entry to future hearings, denial of entry to future hearings, or any other sanctions deemed
 5 necessary by the Court.
 6         IT IS SO ORDERED.
 7         DATED: July 29, 2020.
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 9                                                NANCY J. KOPPE
                                                  UNITED STATES MAGISTRATE JUDGE
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